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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION



UNITED STATES OF AMERICA


vs.                                      NO.4:05CR00305-022 SWW



KRYSTAL DAWN JOURNIGAN


                                         ORDER

       The above entitled cause came on for hearing February 22, 2011 on

the government’s petition to revoke the supervised release previously

granted this defendant in the United States District Court for the

Eastern District of Arkansas.           Based upon the admissions of defendant,

the Court found that defendant has violated the conditions of supervised

release without just cause.

       IT IS THEREFORE ORDERED AND ADJUDGED that the government’s motion

to revoke supervised release [doc #1135] is granted and the supervised

release previously granted this defendant, hereby, is revoked.

       IT   IS    FURTHER   ORDERED    that   defendant    shall    serve   a   term   of

imprisonment of TEN (10) MONTHS in the custody of the Bureau of Prisons.

The Court recommends that defendant be incarcerated at Federal Prison

Camp in Bryan, Texas or Federal Medical Center Carswell in Fort Worth,

Texas; and that defendant participate in residential or non-residential

substance        abuse   treatment     and    mental   health      counseling    during

incarceration.

       There will be TWO (2) YEARS of supervised release following the term

of incarceration with the same terms and conditions initially imposed at
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sentencing which include the following special conditions:

     1. The defendant shall participate and reside in a Residential
     Reentry Center for FOUR (4) MONTHS at the direction of the
     U.S. Probation Office.

     2. Defendant shall participate, under the Guidance and
     supervision of the U. S. Probation Officer, in a substance
     abuse treatment program which may include testing, out-
     patient counseling, and/or residential treatment. Further,
     defendant shall abstain from the use of alcohol throughout
     the course of any treatment.

     3. Defendant shall participate in mental health counseling
     as directed by the U. S. Probation Office.

     Defendant shall follow all standard conditions of supervised

release.

     The defendant is remanded to the custody of the U.S. Marshal

Service for transport to the designated facility to begin the service

of the sentence imposed.

     IT IS SO ORDERED this 23rd day of February 2011.

                                       /s/Susan Webber Wright

                                       United States District Judge
